Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 1 of 12 PageID 207



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 EXPPHA, LLC f/k/a PREFERRED
 PHYSICIANS HEALTHCARE
 ALLIANCE, L.C.,

               Plaintiff,

 vs.                                              Case No. 6:12-cv-01928-RBD-GJK

 KEPRO ACQUISITIONS, INC.,

               Defendant.


                             CASE MANAGEMENT REPORT

       The parties have agreed on the following dates and discovery plan pursuant to
Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):


                      DEADLINE OR EVENT                                 AGREED DATE
 Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P.
 26(a)(1) as amended effective December 1, 2000)                         March 29, 2013
 [Court recommends 30 days after CMR meeting]
 Certificate of Interested Persons and Corporate Disclosure
 Statement [each party who has not previously filed must file                 Filed
 immediately]
 Motions to Add Parties or to Amend Pleadings                            April 26, 2013
 [Court recommends 1 - 2 months after CMR meeting]
 Disclosure of Expert Reports                             Plaintiff:
                                                       Defendant:      September 6, 2013
 [Court recommends last exchange 6 months before trial and 1 -2        September 20, 2013
 months before discovery deadline to allow expert depositions]
 Discovery Deadline
 [Court recommends 6 months before trial to allow time for
                                                                       December 13, 2013
 dispositive motions to be filed and decided; all discovery must be
 commenced in time to be completed before this date]
 Dispositive Motions, Daubert, and Markman Motions [Court
                                                                        January 24, 2014
 recommends no less than 5 months before trial]
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 2 of 12 PageID 208




                      DEADLINE OR EVENT                                    AGREED DATE

 Joint Final Pretrial Statement (Including a Single Set of Jointly-
 Proposed Jury Instructions and Verdict Form (with CD or emailed
 to chambers_FLMD_Dalton@flmd.uscourts.gov), Voir Dire
                                                                             April 25, 2014
 Questions, Witness Lists, Exhibit Lists with Objections on
 Approved Form) [Court recommends 4 weeks before Final Pretrial
 Conference]

 All Other Motions Including Motions In Limine [Court                        May 23, 2014
 recommends 3 weeks before Final Pretrial Conference]
 Final Pretrial Conference [Court will set a date that is                    June 13, 2014
 approximately 3 weeks before trial]
 Trial Term Begins
 [Local Rule 3.05 (c)(2)(E) sets goal of trial within 1 year of filing
 complaint in most Track Two cases, and within 2 years in all Track
                                                                              July 7, 2014
 Two cases; trial term must not be less than 4 months after
 dispositive motions deadline (unless filing of such motions is
 waived).

 Estimated Length of Trial [trial days]                                          7 days

 Jury / Non-Jury                                                                  Jury

 Mediation                                                  Deadline:    October 4, 2013
                                                            Mediator:    Terry White or David
                                                             Address:    Henry
                                                           Telephone:    (800) 264-2622 (White)
                                                                         (407) 210-2796 (Henry)
 [Absent arbitration, mediation is mandatory; Court recommends
 either 2 - 3 months after CMR meeting, or just after discovery
 deadline]


 All Parties Consent to Proceed Before Magistrate Judge                  Yes ____ No __X__

                                                                         Likely to Agree in
                                                                             Future ____




                                                2
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 3 of 12 PageID 209



I.                 Meeting of Parties in Person

           Lead counsel must meet in person and not by telephone absent an order permitting

otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a

different location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A),1 a meeting was held in

person on February 25, 2013, at 2:30 pm via video conference and was attended by:

                 Name                                                Counsel for (if applicable)

                 Tucker H. Byrd                                      Plaintiff

                 Scottie McPherson                                   Plaintiff

                 David B. Weinstein                                  Defendant

                 Ryan D. Maxey                                       Defendant

II.        Pre-Discovery Initial Disclosures of Core Information
           Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures

           Fed.R.Civ.P. 26, as amended effective December 1, 2010, provides that these disclosures

are mandatory in Track Two and Track Three cases, except as stipulated by the parties or

otherwise ordered by the Court (the amendment to Rule 26 supersedes Middle District of Florida

Local Rule 3.05, to the extent that Rule 3.05 opts out of the mandatory discovery requirements):

           The Parties _____ have exchanged __X__ agree to exchange (check one) information

described in Fed.R.Civ.P. 26(a)(1)(A) - (D) by March 29, 2013.


           The Parties have agreed to exchange the standard disclosures required by Rule 26.




1
    A copy of the Local Rules may be viewed at http://www.flmd.uscourts.gov.


                                                         3
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 4 of 12 PageID 210



III.      Electronic Discovery

           The parties have discussed issues relating to disclosure or discovery of electronically

stored information ("ESI"), including Pre-Discovery Initial Disclosures of Core Information in

Section II above, and agree that (check one):

           _____ No party anticipates the disclosure or discovery of ESI in this case;

           __X__One or more of the parties anticipate the disclosure or discovery of ESI in this
           case.
           If disclosure or discovery of ESI is sought by any party from another party, then the

following issues shall be discussed:2

           A.      The form or forms in which ESI should be produced.

                       •   The Parties have agreed that the documents and electronically stored

                           information shall be produced electronically (e.g., on compact discs) in

                           multi-page TIFF file format. In reaching this agreement, the parties do not,

                           in any way, waive their rights to seek or object to the production of

                           metadata or particular documents in native file format.

           B.      Nature and extent of the contemplated ESI disclosure and discovery, including

specification of the topics for such discovery and the time period for which discovery will be

sought.

                       •   The Parties each anticipate seeking production of email correspondence

                           and documents relating to the negotiation, execution, and performance of

                           the Asset Purchase Agreement.

                       •   The Plaintiff anticipates seeking production of documents relating to the

                           development and implementation of the Atrezzo and Med Manager


2
    See Generally: Rules Advisory Committee Notes to the 2006 Amendments to Rule 26(f) and Rule 16.

                                                        4
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 5 of 12 PageID 211



                         software.

                     •   The Plaintiff anticipates seeking production of data relating to the

                         Defendant’s utilization of the Med Manager software or derivatives of that

                         software.

                     •   The Defendant anticipates seeking production of documents relating to the

                         value and functionality of Med Manager at the time KePRO acquired it.

                     •   The Parties will seek discovery from 2009 to present.

       C.      Whether the production of metadata is sought for any type of ESI, and if so, what

types of metadata.

                     •   The Parties agree that absent a showing of need, metadata will not be

                         produced.

       D.      The various sources of ESI within a party's control that should be searched for

ESI, and whether either party has relevant ESI that it contends is not reasonably accessible under

Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving and reviewing that

information.

                     •   At present, the Parties do not anticipate that ESI in its possession will not

                         be accessible.

       E.      The characteristics of the party's information systems that may contain relevant

ESI, including, where appropriate, the identity of individuals with special knowledge of a party's

computer systems.

                     •   Plaintiff’s ESI is maintained on the laptop computers of Dianna Noecker

                         and Edward Cabrera utilizing standard software programs such as

                         Microsoft Outlook, Excel, and other file formats.



                                                   5
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 6 of 12 PageID 212



                   •      Defendant’s ESI is maintained on a server in Harrisburg, PA.

       F.      Any issues relating to preservation of discoverable ESI.

                   •      None known at this time.

       G.      Assertions of privilege or of protection as trial-preparation materials, including

whether the parties can facilitate discovery by agreeing on procedures and, if appropriate, an

Order under Federal Rules of Evidence Rule 502. If the parties agree that a protective order is

needed, they shall attach a copy of the proposed order to the Case Management Report. The

parties should attempt to agree on protocols that minimize the risk of waiver. Any protective

order shall comply with Local Rule 1.09 and Section IV.F. below on Confidentiality

Agreements.

                   •      The Parties anticipate reaching an agreement on a form of a mutually

                          acceptable Confidentiality Agreement, and it is not anticipated that an

                          Order will be necessary.

       H. Whether the discovery of ESI should be conducted in phases, limited, or focused

upon particular issues.

                   •      The Parties do not believe that phases of ESI will be necessary.

       Please state if there are any areas of disagreement on these issues and, if so, summarize

the parties' positions on each:




       If there are disputed issues specified above, or elsewhere in this report, then (check one):

       _____      one or more of the parties requests that a preliminary pre-trial conference under



                                                     6
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 7 of 12 PageID 213



Rule 16 be scheduled to discuss these issues and explore possible resolutions. Although this will

be a non-evidentiary hearing, if technical ESI issues are to be addressed, the parties are

encouraged to have their information technology experts with them at the hearing.

       If a preliminary pre-trial conference is requested, a motion shall also be filed pursuant to

Rule 16(a), Fed.R.Civ.P.

       __X___      All parties agree that a hearing is not needed at this time because they expect

to be able to promptly resolve these disputes without assistance of the Court.

IV.    Agreed Discovery Plan for Plaintiffs and Defendants

       A.       Certificate of Interested Persons and Corporate Disclosure Statement

       This Court has previously ordered each party, governmental party, intervenor, non-party

movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons and Corporate

Disclosure Statement using a mandatory form. No party may seek discovery from any source

before filing and serving a Certificate of Interested Persons and Corporate Disclosure Statement.

A motion, memorandum, response, or other paper—including emergency motion—is subject to

being denied or stricken unless the filing party has previously filed and served its Certificate of

Interested Persons and Corporate Disclosure Statement. Any party who has not already filed and

served the required certificate is required to do so immediately.

       Every party that has appeared in this action to date has filed and served a Certificate of

Interested Persons and Corporate Disclosure Statement, which remains current:

                                       __ X    Yes

                                               No




Amended Certificate will be filed by                  (party) on or before                  (date).

                                                 7
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 8 of 12 PageID 214



       B.          Discovery Not Filed

       The parties shall not file discovery materials with the Clerk except as provided in Local

Rule 3.03. The Court encourages the exchange of discovery requests on diskette. See Local Rule

3.03 (f). The parties further agree as follows:


       C.      Limits on Discovery

       Absent leave of Court, the parties may take no more than ten depositions per side (not per

party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A); Local Rule 3.02(b). Absent leave of

Court, the parties may serve no more than twenty-five interrogatories, including sub-parts.

Fed.R.Civ.P. 33(a); Local Rule 3.03(a). Absent leave of Court or stipulation of the parties each

deposition is limited to one day of seven hours. Fed.R.Civ.P. 30(d)(2). The parties may agree by

stipulation on other limits on discovery. The Court will consider the parties' agreed dates,

deadlines, and other limits in entering the scheduling order. Fed.R.Civ.P. 29. In addition to the

deadlines in the above table, the parties have agreed to further limit discovery as follows:

              1.        Depositions: 10 per side




              2.        Interrogatories: 25 per side, including sub-parts




              3.        Document Requests: The Parties place no advance limits on the number or
                        scope of document requests.




              4.        Requests to Admit: 25 per side



                                                   8
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 9 of 12 PageID 215




              5.     Supplementation of Discovery: Within 30 days of determining the
                     obligation to supplement


       D.      Discovery Deadline
       Each party shall timely serve discovery requests so that the rules allow for a response

prior to the discovery deadline. The Court may deny as untimely all motions to compel filed after

the discovery deadline. In addition, the parties agree as follows:




       E.      Disclosure of Expert Testimony

       On or before the dates set forth in the above table for the disclosure of expert reports, the

parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert testimony on direct

examination at trial will be limited to the opinions, basis, reasons, data, and other information

disclosed in the written expert report disclosed pursuant to this order. Failure to disclose such

information may result in the exclusion of all or part of the testimony of the expert witness. The

parties agree on the following additional matters pertaining to the disclosure of expert testimony:




       F.      Confidentiality Agreements

       Whether documents filed in a case may be filed under seal is a separate issue from

whether the parties may agree that produced documents are confidential. The Court is a public

forum, and disfavors motions to file under seal. The Court will permit the parties to file

documents under seal only upon a finding of extraordinary circumstances and particularized

need. See Brown v. Advantage Engineering, Inc., 960 F.2d 1013 (11th Cir. 1992); Wilson v.

                                                 9
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 10 of 12 PageID 216



 American Motors Corp., 759 F.2d 1568 (11th Cir. 1985). A party seeking to file a document

 under seal must file a motion to file under seal requesting such Court action, together with a

 memorandum of law in support. The motion, whether granted or denied, will remain in the

 public record.

        The parties may reach their own agreement regarding the designation of materials as

 "confidential." There is no need for the Court to endorse the confidentiality agreement. The

 Court discourages unnecessary stipulated motions for a protective order. The Court will enforce

 appropriate stipulated and signed confidentiality agreements. See Local Rule 4.15. Each

 confidentiality agreement or order shall provide, or shall be deemed to provide, that "no party

 shall file a document under seal without first having obtained an order granting leave to file

 under seal on a showing of particularized need." With respect to confidentiality agreements, the

 parties agree as follows:




        G.        Other Matters Regarding Discovery


                     •   None known at this time.



 VI.     Settlement and Alternative Dispute Resolution.

        A.        Settlement

               The parties agree that settlement is ____ likely __X__ unlikely    (check one)



               The parties request a settlement conference before a United States Magistrate

 Judge. _____ yes        ___X__ no   _____ likely to request in future


                                                10
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 11 of 12 PageID 217



        B.      Arbitration

                The Local Rules no longer designate cases for automatic arbitration, but the

 parties may elect arbitration in any case. Do the parties agree to arbitrate?

        _____ yes       ___X__ no       _____ likely to agree in future


        _____ Binding                   _____ Non-Binding




        C.     Mediation

               Absent arbitration or a Court order to the contrary, the parties in every case will

 participate in Court-annexed mediation as detailed in Chapter Nine of the Court's Local Rules.

 The parties have agreed on a mediator from the Court's approved list of mediators as set forth in

 the table above, and have agreed to the date stated in the table above as the last date for

 mediation. The list of mediators is available from the Clerk, and is posted on the Court's web site

 at http://www.flmd.uscourts.gov.



       D.       Other Alternative Dispute Resolution

       The parties intend to pursue the following other methods of alternative dispute resolution:




 Date: March 11, 2013


 Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
 Unrepresented Parties.




                                                  11
Case 6:12-cv-01928-RBD-GJK Document 16 Filed 03/11/13 Page 12 of 12 PageID 218



 s/ Tucker H. Byrd                             s/ David B. Weinstein
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                                      12
